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                                    UNITED STATES DISTRICT COURT
                                    NORTHERN DISTRICT OF FLORIDA

              DEBORAH LAUFER, Individually,

              Plaintiff,

              v.                                                  Case No.   I - fl- c--.J-     ;J.O'O-rJ
              ARPAN, LLC d/b/a AMERICA'S
              BEST VALUE INN,

              Defendant.

              - - - - - - - - - - - - -I
                                                COMPLAINT
                                         (Injunctive Relief Demanded)


                                Plaintiff, DEBORAH LAUFER. Individually, on her behalf and

              on behalf of all other individuals similarly situated, (sometimes referred to as

              "Plaintiff), hereby sues the Defendant, ARPAN, LLC, d/b/a AMERICA' S BEST

              VALUE INN, (sometimes referred to as "Defendant"), for Injunctive Relief, and

              attorney's fees , litigation expenses, and costs pursuant to the Americans with

              Disabilities Act, 42 U.S.C. § 12181 et. seq., ("ADA").

              1.     Plaintiff is a resident of Alachua County, Florida, is sui juris, and qualifies

              as an individual with disabilities as defi.ned by the ADA. Plaintiff is unable to

              engage in the major life activity of walking more than a few steps without

              assistive devices. Instead, Plaintiff is bound to ambulate in a wheelchair or with a



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cane or other support and has limited use of her hands. She is unable to tightly

grasp, pinch and twist of the wrist to operate. Plaintiff is also vision impaired.

When ambulating beyond the comfort of her own home, Plaintiff must primarily

rely on a wheelchair. Plaintiff requires accessible handicap parking spaces located

closest to the entrances of a facility. The handicap and access aisles must be of

sufficient width so that she can embark and disembark from a ramp into her

vehicle. Routes connecting the handicap spaces and all features , goods and

services of a facility must be level, properly sloped, sufficiently wide and without

cracks, holes or other hazards that can pose a danger of tipping, catching wheels

or falling. These areas must be free of obstructions or unsecured carpeting that

make passage either more difficult or impossible. Amenities must be sufficiently

lowered so that Plaintiff can reach them. She has difficulty operating door knobs,

sink faucets , or other operating mechanisms that tight grasping, twisting of the

wrist or pinching. She is hesitant to use sinks that haye unwrapped pipes, as such

pose a danger of scraping or burning her legs. Sinks must be at the proper height

SO that she can put her legs underneath to wash her hands. She requires grab bars

both behind and beside a commode so that she can safely transfer and she has

difficulty reaching the flush control if it is on the wrong side. She has difficulty

getting through doorways if they lack the proper clearance.
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2.    Plaintiff is an advocate of the rights of similarly situated disabled persons

and is a "tester" for the purpose of asserting her civil rights and monitoring,

ensuring, and determining whether places of public accommodation and their

websites are in compliance with the ADA.

3.    According to the county property records, Defendant owns a place of

public accommodation as defined by the ADA and the regulations implementing

the ADA. 28 CFR 36.201(a) and 36.104. The place of public accommodation that

the Defendant owns is a place of lodging known as America' s Best Value Inn,

and is located at 2086 FL-71 , Marianna, Florida in the County of Jackson,

(hereinafter "Property").

4.     Venue is properly located in the Northern Dist~ict of Florida because the

injury occurred in this district.

5.     Pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1343, this Court has been

given original jurisdiction over actions which arise from the Defendant's

violations of Title III of the Americans with Disabilities Act, 42 U.S.C. § 12181

et seq. See also 28 U.S.C. § 2201 and ·§ 2202.

6.     As the owner of the subject place of lodging, Defendant is required to

comply with the ADA. As such, Defendant is required to ensure that it's place of

lodging is in compliance with the standards applicable to places of public

accommodation. as set forth in the regulations promulgated by the Department of
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Justice. Said regulations are set forth in the Code Of Federal Regulations, the

Americans With Disabilities Act Architectural Guidelines ("ADAAGs"), and the

201 O ADA Standards, incorporated by reference into the ADA. These regulations

impose requirements pertaining to places of public accommodation, including

places of lodging, to ensure that they are accessible t9 disabled individuals.

7.    More specifically, 28 C.F.R. Section 36.302(e)(l) imposes the following

requirement:

Reservations made by places of lodging. A public accommodation that owns,

leases (or leases to), or operates a place of lodging shall, with respect to

reservations made by any means, including by telephone, in-person, or through a

third party -

(i) Modify its policies, practices, or procedures to ensure that individuals with

disabilities can make reservations for accessible guest rooms during the same

hours and in the same manner as individuals who do not need accessible rooms;

(ii) Identify and describe accessible features in the hotels and guest rooms offered

through its reservations service in enough detail to reasonably permit individuals

with disabilities to assess independently whether a given hotel or guest room

meets his or her accessibility needs;
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(iii) Ensure that accessible guest rooms are held for use by individuals with

disabilities until all other guest rooms of that type have been,rented and the

accessible room requested is the only remaining room of that type;

(iv) Reserve, upon request, accessible guest rooms or specific types of guest

rooms and ensure that the guest rooms requested are blocked and removed from

all reservations systems; and

(v) Guarantee that the specific accessible guest room reserved through its

reservations service is held for the reserving customer, regardless of whether a

specific room is held in response to reservations made by others.

8.    These regulations became effective March 15, 2012.

9.    Defendant, either itself or by and through a third party, implemented,

operates, controls and or maintains websites for the Property which contains an

online reservations system. These websites are locate_d at:

https: //www.redlion.com/americas-best-value-inn/fl/marianna/americas-best-

value-inn-marianna. This term also includes all other websites owned and

operated by Defendant or by third parties to book or reserve guest

accorhinodations at the hotel: https://www.hotels.com/ho261996/?q-check-

out=2019-10-08&FP0=2&q-check-in=2019-10-07,

https://www .expedia.com/Marianna-Hotels-Americas-Best-Value-Inn-

Marianna.h23166.Hotel-Information, https: //www .orbitz.com/Marianna-Hotels-
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Americas-Best-Value-Inn-Marianna.h23166.Hotel-

Information?chkin= 10%2F7%2F2019&chkout= 10%2F 8%2F2019, and

https://www .priceline.com/relax/at/5670903/from/20191007/to/20191008/rooms/

1/?preferredhotelids=5670903. The purpose of these websites is so that members

of the public may reserve guest accommodations and review information

pertaining to the goods, services, features, facilities, benefits, advantages, and

accommodations of the Property . As such, these websites are subject to the

requirements of 28 C.F.R. Section 36.302(e).

10.     Prior to the commencement of this lawsuit, specifically, on September 16,

2019, Plaintiff visited the websites for the purpose of reviewing and assessing the

ac.cessible features at the Property and ascertain whether they meet the

requirements of28 C.F.R. Section 36.302(e) and her accessibility needs.

However, Plaintiff was unable to do so because Defendant failed to comply with

the requirements set forth in 28 C.F .R. Section 36.302(e). As a result, Plaintiff

was deprived the same goods, services, features, facilities , benefits, advantages,

and accommodations of the Property available to the general public. Specifically,

screenshots of all the websites the ho'tel uses for booking were reviewed and are

attached hereto.

11 . The hotels own website located at: https: //www .redlion.con:1/americas-best-

value-inn/fl/marianna/americas-best-value-inn-marianna had no reference to any
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accessible rooms and no option to book an accessible_room. No information was

given as to whether or where it offers compliant/accessible roll-in showers, tubs,

built in seating, commodes, grab bars, sinks, wrapped pipes, sink and door

hardware, properly located amenities, sufficient maneuvering spaces, compliant

doors, furniture, controls and operating mechanisms. The website does not

contain any information as to whether all goods, facilities and services at the

property are connected by a compliant accessible route, nor does the website

contain any information as to the accessibility of routes connecting all the features

of the hotel, the transaction counter, parking, and common area restrooms. The

website does not give any information as to whether a·ccessible rooms are on the
        .           .

ground floor or if an elevator is provided within an accessible route. Nor does the

website give any information regarding the pool/pools having an accessible lift.

The hotel' s website and third party booking sites claim that the hotel has an

outdoor swimming pool, spa tub, laundry facilities, free self-parking, and that

there is no information as to whether any or all of these hotel features are

accessible.

12.    The third-party booking site located at

https: //www.hotels.com/ho261996/?q..:check-out=2019-l0-08&FPQ=2&q-check-

in=2019-10-07: had no option to book an accessible-room. Hotel amenities, room

ty pes and amenities are all listed in detail. No information was given about
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accessibility in the hotel other than the statements "Accessible bathroom",

"Disabled parking", "Wheelchair accessible path of travel", "Roll-in shower" and

"In-room accessibility".

13. The third party booking site located at https ://www.expedia.com/Marianna-

Hotels-Americas-Best-Value-Inn-Marianna.h23166.Hotel-Information: did not

have an option to book an accessible room. Hotel amenities, room types and

amenities are all listed in detail. No information was given about accessibility in

the hotel other than the statements "Accessible bathroom", "Wheelchair

accessible path of travel", "Roll-in shower", "'Nheelchair accessible parking" and

"In-room accessibility".

14.    The third party booking site located at https://www.orbitz.com/Marianna-

Hotels-Americas-Best-Value-Inn-Marianna.h23166.Hotel-

information?chkin= 10%2F7%2F2019&chkout=10%2F8%2F2019: had no option

to book an accessible room. Hotel amenities, room types and amenities are all

listed in detail. No information was given about accessibility in the hotel other

than the statements "Accessible bathroom", "Wheelchair accessible path of

travel", "Roll-in shower", "Wheelchair accessible parking" and "In-room

accessibility".

15.    The third party booking site located at:
https ://www.priceline.com/relax/at/5670903/from /20191007/to/20191008/rooms/ 1/?preferredh
otelids=5670903
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had no option to book an accessible room. Hotel amenities, room types and

amenities are all listed in detail. No information was given about accessibility in

the hotel other than the statements "Accessible rooms/facilities" and .

"Handicapped rooms/facilities".

16.   In the near future, Plaintiff intends to revisit Defendant's websites and/or

online reservations systems in order to test them for compliance with 28 C.F.R.

Section 36.302(e) and/or to utilize the websites to reserve a guest room and

otherwise avail herself of the goods, services, features, facilities, benefits,

advantages, and accommodations of the Property.

17.   Plaintiff is continuously avvare that the subject websites remain non-

compliant and that it would be a futile gesture to revisit the websites as long as

those violations exist unless she is willing to suffer additional discrimination.

18.   The violations present at Defendant's websites infringe Plaintiffs right to

travel free of discrimination and deprive her of the information required to make

meaningful choices for travel. Plaintiff has suffered, and continues to suffer,

frustration and humiliation as the result of the discriminatory conditions present at

Defendant's website. By continuing to operate the websites with discriminatory

conditions, Defendant contributes to Plaintiffs sense of isolation and segregation

and deprives Plaintiff the full and equal enjoyment of the goods, services,

facilities , privileges and/or accommodations available to the·general public. By
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encountering the discriminatory conditions at Defendant's website, and knowing

that it would be a futile gesture to return to the websites unless she is willing to

endure additional discrimination, Plaintiff is deprived of the same advantages,

privileges, goods, services and benefits readily available to the general public. By

maintaining a websites with violations, Defendant deprives Plaintiff the equality

of opportunity offered to the general public. Defendant's online reservations

system serves as a gateway to its hotel. Because this online reservations system

discriminates against Plaintiff, it is thereby more difficult to book a room at the

hotel or make an informed decision as to whether the facilities at the hotel are

accessible.

19.    Plaintiff has suffered and will continue to suffer direct and indirect injury

as a result of the Defendant's discrimination until the Defendant is compelled to

modify its websites to comply with the requirements of the ADA and to

continually monitor and ensure that the subject websites remain in compliance.
        -
20.    Plaintiff has a realistic, credible, existing and continuing threat of

discrimination from the Defendant's non-compliance with the ADA with respect

to these websites. Plaintiff has reasonable grounds to believe that she will

continue to be subjected to discrimination in violatio1_1 of the ADA by the

Defendant.
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21.    The Defendant has discriminated against the Plaintiff by denying her access

to, and full and equal enjoyment of, the goods, services, facilities , privileges,

advantages and/or accommodations of the subject website.

22.    The Plaintiff and all others similarly situated will continue to suffer such

discrimination, injury and damage without the immediate relief provided by the

ADA as requested herein.

23.    Defendant has discriminated against the Plaintiff by denying her access to

full and equal enjoyment of the goods, services, facilities, privileges, advantages

and/or accommodations of its place of public accommodation or commercial

facility in violationof42 U.S.C. § 12181 et seq. and28 CFR36.302(e).

Furthermore, the Defendant continues to discriminate against the Plaintiff, and all

thos·e similarly situated by failing to make reasonable modifications in policies,

practices or procedures, when such modifications are necessary to afford all

offered goods, services, facilities , privileges, advantages or a·ccommodations to

individuals with disabilities ; and by failing to take such efforts that may be

necessary to ensure that no individual with a disability is excluded, denied

services, segregated or otherwise treated differently than other individuals

because of the absence of auxiliary aids and services.

24.    Plaintiff is wfrhout adequate remedy at law and is suffering irreparable

harm . Plaintiff has retained the undersigned counsel and is entitled to recover
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attorney's fees , costs and litigation expenses from the Defendant pursuant to 42

U.S.C. § 12205 and 28 CFR 36.505.

25.    Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to

grant Plaintiff Injunctive Relief, including an order to require the Defendant to

alter the subject websites to make them readily accessible and useable to the

Plaintiff and all other persons with disabilities as defined by the ADA and 28

C.F .R. Section 36.302(e); or by closing the websites until such time as the

Defendant cures its violations of the ADA.

WHEREFORE, Plaintiff respectfully requests:

a.    · The Court issue a Declaratory Judgment that determines that the Defendant

at the commencement of the subject lawsuit is in violation of Title III of the

Americans with Disabilities Act, 42U.S.C. § 12181 et seq. and 28 C.F.R. Section

36.302(e).

b.     injunctive relief against the Defendant including an order to revise its

websites to comply with 28 C.F.R. Section 36.302(e) and to implement a policy to

monitor and maintain the websites to ensure that it remains in compliance with

said requirement.

C.     An award of attorney's fees, costs and litigation expenses pursuant to 42

U.S .C. § 12205.
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d.    Such other relief as the Court deems just and proper, and/or is allowable

under Title III of the Americans with Disabilities Act.

Respectfully Submitted,

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